       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 1 of 18




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 DONNA CURLING, et al.

       Plaintiffs,
                                                CIVIL ACTION
 v.
                                                FILE NO. 1:17-cv-2989-AT
 BRAD RAFFENSPERGER, et al.,

       Defendants.


 STATE DEFENDANTS’ REPLY IN SUPPORT OF THEIR RENEWED
      MOTION TO DISMISS PLAINTIFFS’ AMENDED AND
             SUPPLEMENTAL COMPLAINTS

I.    The facts cited by State Defendants may all be properly
      considered by the Court.
      Curling and Coalition Plaintiffs urge this Court to completely disregard

State Defendants’ cited facts about Georgia’s voting system. [Doc. 650, pp. 6-

7], [Doc. 651, pp. 11-13]. But this Court is permitted to look to “matters

outside the pleadings, such as testimony and affidavits,” Lawrence v. Dunbar,

919 F.2d 1525, 1529 (11th Cir. 1990) (internal quotations and citations

omitted), when a motion to dismiss challenges the existence of subject-matter

jurisdiction. The Fed. R. Civ. P. 12(b)(1) jurisdictional motion raised by State

Defendants requires specific facts, just like in Lawrence. Id. State Defendants

explained the distinctions in the new claims involving BMDs and the prior


                                       -1-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 2 of 18




claims involving DREs because those facts are necessary to determine if this

Court has jurisdiction over Plaintiffs’ new claims.

      Further, the Eleventh Circuit has upheld the consideration of facts

outside the complaint in a Fed. R. Civ. P. 12(b)(6) motion when they are

public records—including records from a related case—without converting

the motion into a summary-judgment motion. Horne v. Potter, 392 F. App’x

800, 802 (11th Cir. 2010). This is because public records can be judicially

noticed at the motion-to-dismiss stage. Davis v. Williams Communs., Inc.,

258 F. Supp. 2d 1348, 1352 (N.D. Ga. 2003) (citing Bryant v. Acado Brands,

Inc., 187 F.3d 1271, 1279-80 (11th Cir. 1999)). This maxim is more acute

where, as here, documents cited by State Defendants are records in this

case. Plaintiffs themselves pointed to the extensive record in this case when

seeking leave to amend, [Doc. 614, p. 8], [Doc. 581, pp. 3-4], and the Court

similarly recognized efficiency and “ease of reference to the existing record in

this case” when granting Plaintiffs’ motions. [Doc. 626, p. 2]. Moreover,

unlike the case cited by Curling Plaintiffs, citations outside of the record in

this case, are not disputed facts in public records, but are the information

required to determine whether Plaintiffs even have a federal claim to require

a state to select their preferred paper-ballot system. See McElmurray v.

Consolidated Gov’t of Augusta-Richmond Cnty., 501 F.2d 1244 (11th Cir.

                                       -2-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 3 of 18




2007) (noting the district court may dismiss for lack of subject matter

jurisdiction on three separate bases: “(1) the complaint alone; (2) the

complaint supplemented by undisputed facts evidenced in the record; or (3)

the complaint supplemented by undisputed facts plus the court's resolution of

disputed facts.”). State Defendants’ citations to the record of this case and

undisputed public documents are appropriate for this Court to consider.

      More than two years into this case, Plaintiffs cannot now pretend that

their new claims exist in a vacuum just because they do not like the facts

about Georgia’ new paper-ballot voting system. Nor should this Court allow

Curling Plaintiffs’ ad hominem attacks on opposing counsel to support their

position. See [Doc. 651, p. 8 n.4]; Thomas v. Tenneco Packaging Co., 293 F.3d

1306, 1308 (11th Cir. 2002) (“We conclude that an attorney who submits

documents to the district court that contain ad hominem attacks directed at

opposing counsel is subject to sanction under the court's inherent power to

oversee attorneys practicing before it.”). 1




1 Such attacks are especially hypocritical when advanced in the same brief in
which Curling Plaintiffs apparently acknowledge the impropriety of Count V
in their Third Amended Complaint. [Doc. 651 at 23-24].

                                        -3-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 4 of 18




II.   Plaintiffs lack standing to challenge the BMD Voting System.
      Plaintiffs cannot show (1) an injury in fact; (2) that is fairly traceable to

the challenged conduct of defendants; and (3) that is likely to be redressed by

a favorable judicial decision. Spokeo, Inc. v. Robins, ––– U.S. ––––, 136 S.Ct.

1540, 1548, 194 L.Ed.2d 635 (2016). At the outset, Curling Plaintiffs blur

their DRE-related and BMD-related injuries in order to overcome the

standing threshold. See [Doc. 651 at 12] (“While Curling Plaintiffs’ claims

regarding the Proposed Election System arise from recent actions taken by

State Defendants, they are legally identical to the DRE-related claims . . .

[n]o new facts materially alter the standing analysis here.”). At the same

time, Coalition Plaintiffs provide little, if any, argument related to standing,

content to merely rest on the allegations in their First Supplemental

Complaint. See [Doc. 650 at 22] (“Under these authorities, the standing of the

individual Coalition Member Plaintiffs is established by the allegations in

Paragraph 202 through 208 of the First Supplemental Complaint.”). Neither

approach is helpful to the Court, and both convey disregard for what is the

“fundamental, threshold question” in every federal case. See Warth v. Seldin,

422 U.S. 490, 498 (1975).




                                        -4-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 5 of 18




   A. Plaintiffs fail to demonstrate a concrete, particularized, and imminent
      injury.

      To establish an injury in fact, Plaintiffs must show their alleged injury

is both “concrete and particularized” and “actual or imminent, not conjectural

or hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61, 112 S.Ct.

2130, 119 L.Ed.2d 351 (1992).

      First, Curling and Coalition Plaintiffs have failed to allege a “concrete

and particularized” injury, Lujan, 504 U.S. at 560-61, and instead seek to

bootstrap BMD standing to their DRE claims. Although Curling and

Coalition Plaintiffs allege a host of speculative problems with the BMDs (all

of which are derivative of their past problems with DREs), they have not

alleged any have occurred in Georgia BMD elections. See Shelby Cnty.

Advocates for Valid Elections v. Hargett, Case No. 2:18-cv-02706-TLP-dkv,

2019 WL 4394754, at *7 (W.D. Tenn. 2019) (dismissing plaintiffs’ claim for

lack of standing where no evidence that upcoming elections will be

compromised). Similarly, Curling and Coalition Plaintiffs’ respective

Complaints are devoid of any allegations that hacking, security-

vulnerabilities, or other problems have been identified or exploited in

Georgia’s BMD voting system. Essentially, Curling and Coalition Plaintiffs’

argument boils down to: (1) DREs have identified problems; (2) BMDs and



                                       -5-
        Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 6 of 18




DREs are alike (disregarding the differences and clean break between the

two); and, therefore (3) BMDs pose the same security risks and potential

injuries as DREs. However, for standing purposes, more is required. See City

of Los Angeles v. Lyons, 461 U.S. 95, 107 n. 8 (“It is the reality of the threat . .

. not the plaintiff's subjective apprehensions . . . the emotional

consequences of a prior act simply are not a sufficient basis for an

injunction absent a real and immediate threat of future injury by the

defendant.”) (emphasis added). Moreover, Curling and Coalition Plaintiffs’

contention that BMDs and DREs share the same flaws and vulnerabilities

ignores the differences in the systems—differences apparent in the record

that this Court must consider.

      Nonetheless, taking Curling and Coalition Plaintiffs’ allegations as

stated, it remains “speculative whether hypothetical hackers—unidentified

by Plaintiffs—will imminently target Plaintiffs’ votes” in Georgia BMD

elections. Heindel v. Andino, 359 F. Supp.3d 341, 356 (D. S.C. 2019). Just as

in Heindel, Curling and Coalition Plaintiffs allege general problems with

BMD systems and then assume these problems will occur in Georgia-

conducted BMD elections. This type of projection is exactly the kind of

“conjectural or hypothetical” claim that is insufficient to show injury-in-fact.

Lujan, 504 U.S. at 560-61.

                                        -6-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 7 of 18




   B. Plaintiffs’ claims are neither fairly traceable to State Defendants nor
      redressable by the Court.

      Further, Plaintiffs’ alleged injuries cannot be traced to State

Defendants. The traceability prong of standing requires “a causal connection

between the injury and the conduct complained of[.]” Focus on the Family v.

Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1273 (11th Cir. 2003).

Curling and Coalition Plaintiffs speculative alleged injuries (election

irregularities and illegal hacking concerns) are simply too attenuated to be

causally connected to the complained-of conduct—use of the BMD system in

Georgia elections. Indeed, using Plaintiffs’ logic, any and all voter

irregularities or problems would be the fault of the State, as those problems

would not have arisen if the State had not implemented the “complained-of”

election system.

      Finally, Curling and Coalition Plaintiffs injury is not redressable. To

show redressability, a plaintiff must establish that it is “likely, as opposed to

merely speculative, that the injury will be redressed by a favorable decision.”

Lujan, 504 U.S. at 561. “Redressability is established when a favorable

decision would amount to a significant increase in the likelihood that the

plaintiff would obtain relief that directly redresses the injury suffered.”

Mulhall v. UNITE HERE Local 355, 618 F.3d 1279, 1290 (11th Cir. 2010)



                                       -7-
        Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 8 of 18




(alteration adopted and quotation marks omitted). Curling and Coalition

Plaintiffs’ alleged injuries would not be alleviated through their requested

relief. No matter what election system Georgia employs, “the possibility of

electoral fraud can never be completely eliminated . . . [.]” Weber v. Shelley,

347 F.3d 1101, 1106 (9th Cir. 2003). An immediate conversion to hand-

marked paper ballots would only see the return of overvotes, undervotes,

“hanging chads,” and other mechanical and human errors that could

negatively impact Curling and Coalition Plaintiffs’ votes. See generally Bush

v. Gore, 531 U.S. 98, 121 S.Ct. 525, 148 L.Ed.2d 388 (2000). Indeed, redress to

Plaintiffs’ speculative future injury could only be had by this Court enjoining

third-parties from “hacking” or “interfering” with a future election on any

system—paper or otherwise.

III.   Plaintiffs’ DRE Claims are now moot.
       “It has long been settled that a federal court has no authority ‘to give

opinions upon moot questions or abstract propositions, or to declare

principles or rules of law which cannot affect the matter in issue in the case

before it.’” Church of Scientology of Cal. v. U.S, 506 U.S. 9, 12 (1992) (quoting

Mills v. Green, 159 U.S. 651, 653 (1895)). Therefore, when an event occurs

making a court's decision on an issue unnecessary, or makes the granting of

effective relief impossible, the issue is moot and should not be addressed. Id.


                                        -8-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 9 of 18




Such is the case here and Plaintiffs’ arguments that Defendants have waived

mootness is unavailing.

      First, the Court can, and in fact must, consider the issue of mootness.

Indeed, “[i]f the court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action.” FED. R. CIV. P. 12(h)(3)

(emphases added). That subject matter jurisdiction is not waivable and must

be considered at any time is a fundamental maxim, because the Court loses

subject matter jurisdiction over a claim if it becomes moot. See, e.g., Leedom

Mgmt. Grp., Inc. v. Perlmutter, 532 F. App'x 893, 894 (11th Cir. 2013)

(dismissing claim as moot on appeal).

      Plaintiffs argue that State Defendants’ waived any mootness

arguments because they did not move to dismiss the DRE claims based on

mootness in April 2019. [Doc 650 at 8]. 2 Plaintiffs’ argument completely

disregards what the concept of mootness is all about—timing. A claim

becomes moot when “issues presented are no longer ‘live,’” and this can


2Coalition Plaintiffs also assert that State Defendants have waived mootness
arguments by not explicitly referencing Coalition Plaintiffs’ Third Amended
Complaint. [Doc. 650 at 7]. However, the portion of State Defendants’ Motion
regarding mootness references claims made in Plaintiffs’ “Amended and
Supplemental Complaints,” generally, and references “Plaintiffs’ DRE claims”
generally, too. [Doc. 645-1 at 12, 15]. Regardless, the Court may consider
mootness at any time and may even do so sua sponte. Nat’l Adv. Co. v. City of
Miami, 402 F.3d 1329, 1331–32 (11th Cir. 2005).

                                        -9-
      Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 10 of 18




happen at any time during the litigation. De La Teja v. United States, 321

F.3d 1357, 1362 (11th Cir. 2003) (emphasis added); see also Arizonans for

Official English v. Arizona, 520 U.S. 43, 45 (1997). By April 2019, Georgia

law had been amended to require the BMD voting system, but the State had

not completed the procurement. Just because State Defendants chose not to

move to dismiss the DRE claims based on mootness in April, does not mean

their claims cannot be dismissed now—when they are moot.

      Finally, the Court is unable to grant effective relief to Plaintiffs as to

their DRE claims at this juncture. The Eleventh Circuit has explained:

      Our jurisdiction is limited, by the Constitution, to ‘cases' and
      ‘controversies.’” . . . Thus, “a justiciable controversy ‘must be
      definite and concrete, touching the legal relations of parties having
      adverse legal interests. It must be a real and substantial
      controversy admitting of specific relief through a decree of a
      conclusive character, as distinguished from an opinion advising
      what the law would be upon a hypothetical state of facts.’

Leedom, 532 F. App'x at 895 (emphasis added) (internal citations omitted).

Here, the November 2019 Georgia elections have already passed and the only

elections remaining to be conducted on DREs are a handful of run-off

elections on December 3—prior to conclusion of briefing on Plaintiffs’




                                       -10-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 11 of 18




preliminary injunctions. 3 Thus, there is no effective relief that can now be

granted for Plaintiffs’ DRE claims, even on a preliminary basis.

IV.   Plaintiffs seek impermissible relief and Coalition Plaintiffs
      have failed to state a claim for violation of Procedural Due
      Process.
      Curling and Coalition Plaintiffs both seek relief beyond the scope of Ex

Parte Young and which would violate federal law. Moreover, Coalition

Plaintiffs cite no authority for the proposition that a preferred method of

voting is a liberty interest protected by Procedural Due Process, a claim

which they have abandoned.

      First, Curling Plaintiffs explicitly seek relief concerning use of the

“DRE Voting System” in the “Relevant Previous Elections.” See [Doc. 627 ¶¶

98(a), 110, 112(a)]. Curling Plaintiffs, in their response, apparently assert

that “notice relief” for past harm is available to them under Green v.

Mansour, 474 U.S. 64 (1985). Simply put, “notice relief” for past conduct is

not the type of remedy designed to prevent ongoing violations of federal law,

as permitted by Ex Parte Young. Id. Since, as noted supra, Plaintiffs cannot

obtain relief on DREs at this juncture, they are improperly seeking to




3Moreover, the possibility of a vacancy or special election conducted on DREs
before 2020 is so remote and speculative that it calls into question Plaintiffs’
standing to assert a DRE claim on this basis.

                                      -11-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 12 of 18




“adjudicate the legality of past conduct” in the Relevant Previous Elections.

Summit Medical Assoc., P.C. v. Pryor, 180 F.3d 1326, 1338 (11th Cir. 1999).

This retrospective relief simply does not surpass the “minimum threshold for

abrogating a state’s constitutional immunity” and must be dismissed. Id.

(quoting Booth v. Maryland, 112 F.3d 139, 142 (4th Cir. 1997)).

      Second, in their Response, Coalition Plaintiffs ignore the exacting

specificity of their requested relief. When they finally address it, Coalition

Plaintiffs simply state that the Court is free to ignore their relief. [Doc. 650,

pp. 10–11]. To be clear, Coalition Plaintiffs seek a mandatory injunction

requiring State Defendants to: employ a certified hand-marked paper ballot

system; “follow the law” regarding ballot secrecy; utilize QR-code “testing”

and “fidelity”; expand a “pilot program” in “five different geographic areas of

the state” using specified optical scanners; and implement audit programs of

Plaintiffs’ choosing. [Doc. 628, pp. 69–72]. This relief is drastically different

from the relief that Plaintiffs previously sought—only enjoining an allegedly

unconstitutional voting system. See [Doc. 226, pp. 67–68]. Instead, Coalition

Plaintiffs now “seek a court order directing the precise way in which Georgia

should conduct voting.” Curling v. Secretary of State of Georgia, 761 F. App’x

927, 934 (2019). This Court must decline to become embroiled in such

technical and administrative details. Saxon v. Fielding, 614 F.2d 78, 80 (5th

                                       -12-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 13 of 18




Cir. 1980); see also Pettengill v. Putnam County R-1 Sch. Dist., 472 F.2d 121,

122 (8th Cir. 1973).

      Third, both Plaintiffs employ the same strategy of ignorance with

respect to the violation of disability protections they ask this court to impose.

Again, Plaintiffs cannot dispute that under their theory of the facts and law,

BMDs are unconstitutionally insecure for use by the general populace but

permissible for disabled voters. In response to this predicament, Plaintiffs

state the Court is free to ignore their relief in this instance as well, [Doc. 650,

p. 25], or that audits make BMDs constitutionally acceptable. [Doc. 651, p.

23]. However, neither set of Plaintiffs address the reality that if an auditable

BMD system is constitutionally permissible for disabled voters, the same

must be true for all Georgia citizens. 4 Plaintiffs are seeking to move this

Court from a realistic view of the circumstances to the position that any

technology in voting is impermissible—but they cannot do so without

attacking the right to vote of the State’s most vulnerable citizens.

      Finally, Coalition Plaintiffs’ Response does not meaningfully rebut

State Defendants’ foundational arguments supporting dismissal of their



4In any event, the evidence this Court has already considered shows that
Georgia is in fact one of only 5 states implementing a statewide auditing
regime. Testimony of Dr. Halderman, July 26, 2019 [Tr. 166:23–167:7].

                                       -13-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 14 of 18




procedural due process allegations. 5 Coalition Plaintiffs still have not pointed

the Court to any authority supporting the proposition that there exists a

liberty or property interest in a preferred choice of voting system (here,

between computer-tabulated paper ballots marked via BMDs and those

marked by hand). Nor have Coalition Plaintiffs made any attempt to

distinguish the Supreme Court of Georgia’s decision in Favorito v. Handel,

285 Ga. 795, 684 S.E.2d 257 (Ga. 2009), 6 which runs directly counter to

Coalition Plaintiffs’ position.

V.    Curling Plaintiffs consent to dismissal of their state law
      declaratory judgment claim.
      In response to State Defendants’ Motion to Dismiss Curling Plaintiffs’

improperly asserted Declaratory Judgment claim, Curling Plaintiffs state

they “do not oppose dismissal of Count V[.]” [Doc. 651 at 24]. That the claim

was presented and Plaintiffs readily consent to its dismissal in the face of its




5 State Defendants further note that Coalition Plaintiffs have previously
asserted and abandoned their Procedural Due Process and re-examination
claims. [Doc. 375 at 39, n. 31].
6 The Court previously observed that Favorito “is not controlling” because it

addressed Georgia’s DRE-based system “during the infancy of the use of
DREs in Georgia.” [Doc. 375 at 16, 41]. Because the Court now finds itself in
the position of addressing Plaintiffs’ BMD relief in the exact same posture,
the Court must reconsider the application and persuasive reasoning of the
Supreme Court of Georgia.

                                      -14-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 15 of 18




obvious legal impropriety raises questions of why it was asserted in the first

instance.

      Regardless, Curling Plaintiffs have now abandoned their declaratory

judgment claim and the Court should readily dismiss Count V. White v. Ga.

Dept. of Motor Veh. Safety, 2006 WL 1466254 at *1 (N.D. Ga. May 19, 2006)

(“it is well-accepted in this district that the failure to respond to arguments

relating to a claim constitutes abandonment of the claim”); see also Brown v.

J.P. Turner & Co., 2011 WL 1882522 (N.D. Ga. May 17, 2011) (Carnes, C.J.)

(noting that failure to respond to legal arguments in a motion to dismiss is, in

itself, grounds for the Court to rule in favor of the movant). Here, Curling

Plaintiffs avoid addressing State Defendant’s arguments at all—grounds for

dismissal in itself—and instead summarily reveal that the claim is indeed a

state law claim. [Doc. 651 at 24]. Accordingly, the claim is barred by

immunity. See [Doc. 645-1, 28–33] (asserting the legal impropriety of Curling

Plaintiffs’ state law declaratory judgment claim).

      Respectfully submitted this 11th day of November, 2019.

                               /s/ Vincent R. Russo
                               Vincent R. Russo
                               Georgia Bar No. 242628
                               vrusso@robbinsfirm.com
                               Josh Belinfante
                               Georgia Bar No. 047399
                               jbelinfante@robbinsfirm.com

                                      -15-
Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 16 of 18




                      Carey A. Miller
                      Georgia Bar No. 976240
                      cmiller@robbinsfirm.com
                      Kimberly Anderson
                      Georgia Bar No. 602807
                      kanderson@robbinsfirm.com
                      Alexander Denton
                      Georgia Bar No. 660632
                      adenton@robbinsfirm.com
                      Brian E. Lake
                      Georgia Bar No. 575966
                      blake@robbinsfirm.com
                      Robbins Ross Alloy Belinfante Littlefield LLC
                      500 14th Street, N.W.
                      Atlanta, Georgia 30318
                      Telephone: (678) 701-9381
                      Facsimile: (404) 856-3250


                      Bryan P. Tyson
                      Georgia Bar No. 515411
                      btyson@taylorenglish.com
                      Bryan F. Jacoutot
                      Georgia Bar No. 668272
                      bjacoutot@taylorenglish.com
                      TAYLOR ENGLISH DUMA LLP
                      1600 Parkwood Circle, Suite 200
                      Atlanta, GA 30339
                      Telephone: (678)336-7249

                      Counsel for State Defendants




                             -16-
      Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 17 of 18




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing STATE DEFENDANTS’ REPLY IN SUPPORT OF THEIR

RENEWED MOTION TO DISMISS PLAINTIFFS’ AMENDED AND

SUPPLEMENTAL COMPLAINTS has been prepared in Century Schoolbook

13, a font and type selection approved by the Court in L.R. 5.1(B).

      This 11th day of November, 2019.



                              /s/ Vincent R. Russo
                              Vincent R. Russo




                                     -17-
       Case 1:17-cv-02989-AT Document 653 Filed 11/11/19 Page 18 of 18




                        CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing

STATE DEFENDANTS’ REPLY IN SUPPORT OF THEIR RENEWED

MOTION TO DISMISS PLAINTIFFS’ AMENDED AND SUPPLEMENTAL

COMPLAINTS with the Clerk of Court using the CM/ECF system, which will

automatically send counsel of record e-mail notification of such filing.

      This 11th day of November, 2019.



                                     /s/ Vincent Russo
                                     Vincent R. Russo




                                       -18-
